           Case 16-18931-mdc                        Doc 153           Filed 02/13/17 Entered 02/13/17 17:56:50                          Desc Main
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 Fill in this information to identify the case:

 Debtor name         North Philadelphia Health System

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)         16-18931-mdc
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                                                                            Business Operating and
                                                                            Lock Box Accounts -
           3.1.     Citizens Bank                                           See Attachment A                                                      $557,083.75



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $557,083.75
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Net Cash Proceeds and Insurance Escrows Held by FHA Mortgage Servicer
                    Debt Service and Debt Service Reserve Accounts Held by Trust Indenture Trustee
                    Medical Malpractice Self Insurance Trust Reserve Held by U.S. Bank
           7.1.     See Attachment B                                                                                                            $6,923,245.86



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepaid Expenses                                                                                                              $257,764.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 9.        Total of Part 2.                                                                                                               $7,181,009.86
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         3,091,897.00       -                                    0.00 = ....              $3,091,897.00
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                               $3,091,897.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last              Net book value of          Valuation method used   Current value of
                                                      physical inventory            debtor's interest          for current value       debtor's interest
                                                                                    (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Healthcare Program
           Supplies (Inventory)                                                                     $0.00      Recent cost                      $225,147.00




 23.       Total of Part 5.                                                                                                                 $225,147.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                               Current Value


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 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Office and Healthcare Programs Furniture and
           Equipment
           Net of Depreciation                                                         Unknown       Comparable sale                   $350,000.00




 51.       Total of Part 8.                                                                                                         $350,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


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 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used   Current value of
           property                                       extent of           debtor's interest       for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 1600-50 W. Girard
                     Ave, Phila. PA 19130
                     Philadelphia OPA No.
                     772018000
                     Unoccupied, Former
                     St. Joseph's Hospital
                     Value predicated
                     upon both Appraisal
                     and current offer to
                     purchase                             Fee simple                   Unknown        Appraisal                       $8,117,000.00


           55.2.     801 W. Girard Ave,
                     Phila. PA 19122
                     Phila. OPA No.
                     771032100
                     Main Girard Medical
                     Center Campus                        Fee simple                        $0.00     Appraisal                     $18,520,000.00


           55.3.     1300-42 N. 8th St,
                     Phila. PA 19122
                     Phila. OPA No.
                     772020000
                     Parking Lot                          Fee simple                        $0.00     Appraisal                       $9,120,000.00


           55.4.     1301-25 N. 8th St,
                     Phila PA
                     Phila. OPA No.
                     772021000
                     Parking Lot
                     Value predicated
                     upon both appraisal
                     and prepetition sale
                     agreement                            Fee simple                   Unknown        Appraisal                       $1,750,000.00


           55.5.     1330 N. Perth St,
                     Phila, PA
                     Phila. OPA No.
                     885466220
                     Parking Lot
                     (Value included in
                     1301-15 N. 8th St)                   Fee simple                   Unknown        Appraisal                                   $0.00




 56.       Total of Part 9.                                                                                                       $37,507,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?

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               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
            Healthcare Program Licenses
            Commonwealth of Pennsylvania                                                    $0.00                                        Unknown



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities
           T/U/W Charles English, Deceased $690,000;
           Other Perpetual Charitable Trusts:
           Interest in Income Distributions Only
           See SOFA No. 2 for Income and Schedule of Corpus of
           Charitable Trusts                                                                                                         $690,000.00



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           NPHS v. Rahn and Pasieka,
           U.S. Dist. Court, E. Dist. Penn.
           Docket No. 16-cv-03910-JD                                                                                                 $200,000.00
           Nature of claim            Claim for damages of $200,000
                                      removed from real estate
                                      escrow account.
           Amount requested                        $200,000.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                       $890,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




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 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $557,083.75

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $7,181,009.86

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $3,091,897.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $225,147.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $350,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $37,507,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $890,000.00

 91. Total. Add lines 80 through 90 for each column                                                       $12,295,137.61             + 91b.           $37,507,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $49,802,137.61




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 7
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Schedules A and B, Item 3, Attachment A
Debtor’s Bank Accounts
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Schedules A and B, Item 7, Attachment B
Debtor's Deposits with Third Parties

Funds Held by FHA Mortgage Servicer,
Net Proceeds from Property Sales                                       $1,495,323.31
Property-Liability Insurance Escrows                                     $963,180.82
  Total                                                                $2,458,504.13

Funds Held by The Bank of New York Mellon Trust Co., N.A.:
Bond Debt Service Reserve Accounts (Bayern LB NYC)                     $3,781,955.85
All Other BNYM Bond Accounts                                              $74,876.95
 Total                                                                 $3,856,832.80

U.S. Bank Account - Former Hospital Self-Insurance Plan                  $607,908.93

 Grand Total                                                           $6,923,245.86
